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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          NEWNAN DIVISION

 UNITED STATES OF AMERICA


 v.                                             CRIMINAL CASE NO.
                                                3:15-cr-00001-TCB-RGV
 COREY BROWN, et al.,

              MAGISTRATE JUDGE’S REPORT AND
      RECOMMENDATION ON DEFENDANT’S PRETRIAL MOTIONS

       Defendant Corey Brown (“Brown”) is charged in a five-count indictment with

Hobbs Act robbery and conspiracy to commit Hobbs Act robbery, in violation of 18

U.S.C. §§ 1951(a) and 2. [Doc. 1].1 Brown has filed a “Motion to Suppress Evidence

of Out of Court Photographic Identification and All Testimony Tainted as a Result

Thereof,” [Doc. 40], and a “Particularized Motion to Suppress Evidence of Out of

Court Photographic Identification and All Testimony Tainted as a Result Thereof,”

[Doc. 43]. The government has filed a “Pre-Hearing Response to Defendant’s

Motion to Suppress Identification,” [Doc. 44], and following an evidentiary hearing

held on April 17, 2015,2 the parties filed post-hearing briefs, [Docs. 53 & 62]. For the


       1
        The listed document and page numbers in citations to the record refer to the
document and page numbers shown on the Adobe file reader linked to the Court’s
electronic filing database, CM/ECF, except that citations to the evidentiary hearing
transcript are cited according to the transcript page number.
       2
        See [Doc. 52] for the transcript of the evidentiary hearing. Citations to the
evidentiary hearing transcript hereinafter will be referred to as “(Tr. at ___).” In
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reasons that follow, it is RECOMMENDED that Brown’s motions to suppress

evidence and testimony, [Docs. 40 & 43], be DENIED.

                           I. STATEMENT OF FACTS

A.    Family Dollar Robbery of April 21, 2014

      On April 21, 2014, three individuals robbed a Family Dollar store located in

Hapeville, Georgia. [Doc. 1 at 2–3]; (Tr. at 6, 10; Ex. 2). After identifying three

suspects, the local detective who was assigned to investigate the robbery assembled

three separate photo arrays (or lineups), consisting of six photos each, with each

lineup containing a photo of one of the three suspects. (Tr. at 6, 10; Ex. 1). One of

the lineups included a photograph of Brown, who appears to be wearing a gray

hooded sweatshirt. (Ex. 1). On July 25, 2014, Detective Stephen Cushing (“Detective

Cushing”) presented the photo lineups to J.W., a witness to the April 21 robbery

who was also physically assaulted by one of the robbers. (Tr. at 6, 17–18; Ex. 1).

Detective Cushing was not assigned to the investigation of the robbery, (Tr. at 6),

and at the time he showed the photos to J.W., he did not know that Brown was a

suspect, (Tr. at 9–10 (Detective Cushing testifying that he did not know that Brown’s

photo was in the lineup and “had no idea which . . . position the suspect was in”)).




addition, the government submitted exhibits at the hearing, which will be referred
to as “( Ex. ___).”

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      Just before presenting the photos, Detective Cushing read aloud to J.W. a

“Photo Line-Up Admonition” form, instructing J.W. that the photos in the lineup

“may or may not include a photograph of the person or persons who committed the

crime,” and that she “should only make an identification if [she could] do so.” (Tr.

at 11, 15–16; Ex. 1). After signing the admonition form to confirm that she

understood these instructions, (Tr. at 15–16; Ex. 1), J.W. selected Brown’s photo from

among the lineups by circling the photo and writing her initials next to it, along with

the notation: “Big one put hands on me,” (Ex. 1; Tr. at 12–13); see also (Tr. at 17

(Detective Cushing explaining that J.W. told him that the individual portrayed in

Brown’s photo “was definitely the one that grabbed her and that she was tussling

with . . ., and . . . that threw her down on the ground”)). Detective Cushing testified

that all six of the photographs in the lineup that included Brown’s photo appeared

to be driver’s license photos obtained from the department of driver services. (Tr.

at 23–24 (stating that the Hapeville police typically tried to use “driver’s license

photographs [with] . . . a similar background” in assembling photo arrays)).

B.    CVS Robbery of April 22, 2014

      On April 22, 2014, three individuals robbed a CVS store in Newnan, Georgia.

[Doc. 1 at 3]; (Ex. 4).    The local investigator who was assigned to the case

subsequently compiled three photo arrays consisting of six photos each. (Tr. at



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26–29; Ex. 5).3 On August 26, 2014, Investigator Kevin Yarbrough (“Investigator

Yarbrough”), of the Coweta County Sheriff’s Office, showed the photo arrays to

S.G., who had witnessed the April 22 CVS robbery. (Tr. at 26, 28; Ex. 5). At the time

he presented the lineups, Investigator Yarbrough was not assigned to the

investigation of the robbery and knew nothing about the suspects. (Tr. at 26–27 (“I

don’t know anything about the suspects or the fillers in the lineup . . . . I don’t have

anything to do with the case so . . . I don’t even know who we are looking at.”)).

Investigator Yarbrough began the lineup procedure, which was video recorded at

the Sheriff’s Office, by reading aloud to S.G. a series of “Photo Line-Up

Instructions,” from which he advised S.G. that “[i]t is just as important to clear

innocent person(s) from suspicion as to identify guilty parties”; that “[t]he

individuals depicted in the[] photos may not appear exactly as they did on the date

of the incident”; and that “[t]he person who committed the crime may or may not

be in the set of photographs being presented.” (Ex. 3; Ex. 5 at 00:57–01:36). S.G. then

signed the instruction form and indicated that she understood the instructions that

had been read to her. (Ex. 3; Ex. 5 at 1:34–02:14).

      3
         Each of the photo arrays included a photo of one of the three suspects, and
all of the photographs were obtained from the Hapeville Police Department and
were identical to the photographs that Detective Cushing had presented to J.W. on
July 25, 2014. (Tr. at 27–29; Ex. 3). However, in this instance, each photo used in the
array was shown to the witness one at a time, instead of presenting all six at once.
(Tr. at 29).

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      The first lineup shown to S.G. included the photograph of Brown. (Tr. at 28;

Ex. 5). When S.G. saw Brown’s photo, she said, “I think he might [have] been the

guy in the back. I could be wrong. I do remember a gray hoodie.” (Ex. 5 at

04:21–04:30).4 Investigator Yarbrough interjected: “not, not paying attention to the

clothing. . . .”—to which S.G. replied, “No, not paying attention to the clothes.” (Id.

at 04:31–04:36). S.G. then placed her hands on top of the photo so as to cover up the

image of Brown’s clothing while Brown’s face remained visible.5 (Id. at 04:35–04:40).

S.G. next began to tap the face of the photo with both index fingers, mentioning

something about a “round face” and using her hands to gesture around her face as

she spoke. (Id. at 04:47–04:55). Investigator Yarbrough then asked S.G., on a scale

of one to ten, how sure she was that “that’s the guy?” and S.G. replied, “like a 7.”

(Id. at 04:55–05:04). S.G. then wrote her initials next to the photo of Brown to

indicate that she had selected him from the first lineup, (id. at 05:48–05:56; Ex. 3; Tr.


      4
        Near the beginning of the lineup presentation, S.G. made a comment about
having seen only “one face” during the robbery, see (Ex. 5 at 02:48–02:52), but she
distinguished the appearance and positions of the robbers based on the order in
which they entered the store, see, eg., (id. at 04:39–04:50 (describing her memory of
one shorter man and two taller men during the robbery), 04:47–04:55 (describing the
suspect’s “round face” in making her selection), 04:21–04:30, 09:00–09:19, 10:15–10:35
(distinguishing among different suspects portrayed in the photos based on the
suspects’ relative positions among the robbers)).
      5
        Throughout the lineup procedure, Investigator Yarbrough and S.G. were
both seated at opposite ends of a round table on which the photos were displayed.
See (Ex. 5).

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at 32–33), and Investigator Yarbrough removed all of the photos of the first lineup

from the table and placed them on a chair to his right, (Ex. 5 at 06:00–06:13; Tr. at

41–42, 46–47).

      Upon reviewing the second lineup, S.G. selected a photo that she said she was

“pretty sure” (“like an 8”) represented the “first guy that [she] saw walk in the

door.”   (Ex. 5 at 09:00–09:19).    After S.G. initialed her selection, Investigator

Yarbrough placed the photos from the second lineup on the chair to his right, just

as he had done with the first lineup. (Id. at 09:27–09:30; Tr. at 46–47). Lastly, S.G.

selected a photo from the third lineup, stating that she was “like 100%” sure that it

was “the guy that came in front.” (Ex. 5 at 10:15–10:35). During her identification

of the photo from the third lineup, S.G. also pointed in the direction of the chair

where Investigator Yarbrough had stacked the previous two lineups, and said, “I

might be wrong about that one.” (Id. at 10:20–10:23; Tr. at 46–47). However, S.G.

did not specify as to which of the two prior lineups she was referring. (Ex. 5 at

10:20–10:23).

                                   II. DISCUSSION

      Brown moves to suppress the evidence of the photographic identifications

made by J.W. and S.G. on the ground that the procedures surrounding the

photographic arrays in which he was identified were unduly suggestive. [Doc. 40



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at 1–2; Doc. 43 at 3–4]. He also seeks to suppress any future identifications that are

tainted by the earlier photographic identifications. [Doc. 40 at 1–2; Doc. 43 at 3–4].

The government responds that the photo identification evidence in this case should

not be suppressed because the lineup procedures were not impermissibly

suggestive. See generally [Docs. 44 & 62].

      The Supreme Court has developed a two-part test to determine whether an

out-of-court identification was proper. First, the Court must “ask whether the

original identification procedure was unduly suggestive.” United States v. Brown,

441 F.3d 1330, 1350 (11th Cir. 2006); see also Manson v. Brathwaite, 432 U.S. 98, 106-

07 (1977). If, and only if, the procedure was unduly suggestive, the Court must then

“consider whether, under the totality of the circumstances, the identification was

nonetheless reliable.” Brown, 441 F.3d at 1350 (internal marks omitted) (quoting

United States v. Diaz, 248 F.3d 1065, 1102 (11th Cir. 2001)); see also United States v.

Smith, 459 F.3d 1276, 1294 (11th Cir. 2006) (alteration, citation, and internal marks

omitted) (“The court must first decide whether the procedure was impermissibly

suggestive, and if it was suggestive the court must then determine whether the

identification procedure created a substantial likelihood of misidentification.”).

Brown “has the burden of proving that the identification procedure was

impermissibly suggestive.”      United States v. Stevenson, Criminal Case No.



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1:11–cr–00350–ODE–RGV, 2012 WL 1424169, at *5 (N.D. Ga. Mar. 7, 2012), adopted

by 2012 WL 1418635, at *1 (N.D. Ga. Apr. 23, 2012) (citing Cikora v. Dugger, 840 F.2d

893, 895 (11th Cir. 1988)). “In evaluating the suggestiveness of a photographic array,

courts consider the size of the array, the manner of its presentation by law

enforcement officers, and the details of the photographs themselves.” Id., at *5

(citation and internal marks omitted); see also United States v. Perkins, 787 F.3d

1329, 1344 (11th Cir. 2015).

      Here, the size of the photo arrays—six pictures in each lineup—clearly

supports a finding that the identification procedures were not unduly suggestive,

and Brown does not contend otherwise. See [Docs. 40 & 43]; United States v.

Perkins, Criminal Case No. 1:10–CR–97–JEC–LTW, 2011 WL 2294163, at *7 (N.D. Ga.

Apr. 21, 2011), adopted by 2011 WL 2268055, at *1 (N.D. Ga. June 8, 2011), aff’d, 787

F.3d at 1329 (citations omitted) (“[T]he size of the array for each of the six-picture

lineups militates in favor of a finding that the photo array was not unduly

suggestive.”). Similarly, Brown does not complain about the manner in which the

investigators presented the lineups to the witnesses. See [Docs. 40 & 43]. Instead,

Brown argues that the photo arrays were unduly suggestive because “the photo

used of him in the lineup[(s)] was a photo in which he was wearing the same attire

[that] the robbers” wore at the time of the robberies. [Doc. 53 at 5]. Brown argues



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that the July 25 lineup was suggestive for the additional reason that “Brown[’]s

photo and one other photo are ‘close-ups’ in comparison to the other four

photographs.” [Id.]. Neither of these arguments has merit, and Brown’s motion to

suppress the identification evidence in this case is due to be denied.

      A lineup is not unduly suggestive merely because the defendant’s photograph

can be distinguished from others, and there is no requirement that a defendant in

a lineup be surrounded by others identical in appearance. See Cikora, 840 F.2d at

896-97 (district court did not clearly err by admitting identification where only

defendant’s photograph in lineup had height markings in background and

defendant was a different race than several other subjects). Indeed, the Eleventh

Circuit, and other courts around the country, have held that lineups are not unduly

suggestive so long as the photos reflect “substantial similarity in facial features,

complexion, facial hair, and general body type and appearance,” notwithstanding

any minor variations in clothing or similar insubstantial differences. See United

States v. Smith, 148 F. App’x 867, 874-75 (11th Cir. 2005) (per curiam) (unpublished)

(internal marks omitted); United States v. Walker, 199 F. App’x 884, 887 (11th Cir.

2006) (per curiam) (unpublished) (affirming district court’s finding that array was

not unduly suggestive where it included “similar looking African-American males

who were similar in complexion and had short hair,” and where, “although there



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[were] some differences between each photo, nothing unreasonably suggested that

[defendant] was the actual suspect in the offense”); United States v. Anderson, 156

F. App’x 218, 220-21 (11th Cir. 2005) (per curiam) (unpublished); see also United

States v. Burbridge, 252 F.3d 775, 780 n.5 (5th Cir. 2001) (that defendant was the only

one in photographic lineup with black t-shirt not impermissibly suggestive); United

States v. Johnson, 56 F.3d 947, 954 (8th Cir. 1995) (photo spread comprised of

African-American men with similar features to the African-American suspect was

proper); Harker v. Maryland, 800 F.2d 437, 444 (4th Cir. 1986) (photo array not

unduly suggestive where only one other individual wore clothing similar to

defendant’s clothing, as identification was based more on facial features than

clothing).

      The photographs used in the lineups in this case all depict African-American

males of similar age and with similar haircuts and facial hair. Likewise, each

photograph is a facial shot, not a side view; each depicts the same profile consisting

of the shoulders, neck, and face; and each subject is dressed in civilian clothes, not

in prison garb. As such, Brown’s photo is “sufficiently similar to the others in size,

details, and manner of presentation to render it inconspicuous,” United States v.

Henderson, Criminal Case No. 1:11–CR–255–TWT–RGV, 2012 WL 1665870, at *5

(N.D. Ga. Apr. 16, 2012), adopted by 2012 WL 1658696, at *1 (N.D. Ga. May 11, 2012),



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and the photo lineups in which Brown was identified as a suspect were therefore not

unconstitutionally suggestive.

      Although Brown argues that the lineups were unduly suggestive because he

was the only individual in the photos who appeared to be wearing a gray sweatshirt

similar to what the robbers wore during the robberies, there is no evidence that

either J.W. or S.G. relied on the appearance of Brown’s clothing in selecting his

photo from the lineups. When J.W. selected Brown’s photo, she stated that he was

the individual who had physically assaulted her in the course of the Family Dollar

robbery, and there is nothing that indicates her selection was influenced by the

appearance of Brown’s attire in the photograph in any way. See (Ex 1; Tr. at 12–13,

17). Similarly, the recording of the lineup procedure related to the CVS robbery

clearly indicates that S.G. selected Brown’s photograph based on the appearance of

his face, and—quite explicitly, in fact—not on the basis of his clothing. See (Ex. 5 at

04:31–04:55 (S.G. selecting Brown’s photo only after covering up the portions of the

photo showing his clothing, tapping the image of his face with both hands,

mentioning something about a “round face” while gesturing around her face, and

indicating that she was “not paying attention to the clothes”)).6

      6
         As noted above, S.G. was also explicitly instructed by Investigator
Yarbrough that “[t]he individuals depicted in the[] photos may not appear exactly
as they did on the date of the incident,” and that “[t]he person who committed the
crime may or may not be in the . . . photographs being presented,” and S.G.

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      Moreover, federal courts have consistently found that photographic lineups

are not unduly suggestive simply because one of the individuals depicted in the

lineups happens to be wearing clothing that appears similar to the clothing the

suspect was observed to be wearing at the time of the crime, particularly where, as

here, the photos clearly focus on the individual’s face and do not accentuate his

clothing, and where the witness’ identification appears to be ultimately based on her

alleged recognition of the suspect’s facial features.7 See, e.g., United States v.

Peterson, 411 F. App’x 857, 864 (6th Cir. 2011) (unpublished) (rejecting defendant’s

argument “that the photo array was unduly suggestive because his photo was the

only one in dark clothing, which was part of the description of the robber,” since this

and other discrepancies did not outweigh the “many substantial similarities”



expressly confirmed that she understood these instructions just minutes before
selecting Brown’s photo. See (Ex. 3; Ex. 5 at 00:57–02:14); see also (Tr. at 11, 15–16;
Ex. 1) (Detective Cushing advising J.W. that the photos in the lineup “may or may
not include a photograph of the person or persons who committed the crime,” and
that she “should only make an identification if [she could] do so)).
      7
         Brown suggests that “the only basis upon which [S.G.] could [have made]
any other identification[, besides the identification from the third lineup,] is the
clothing worn by the suspect,” since S.G. was the most certain about her
identification from the third lineup and “stated that she only saw one person”
during the robbery. [Doc. 53 at 7]. As previously noted, however, S.G. did not
indicate that she only saw one person during the robbery, but clearly described her
memory of three separate individuals and then proceeded to identify those
individuals based on their relative positions in the store during the robbery. See (Ex.
5 at 04:21–04:30, 04:39–04:50, 09:00–09:19, 10:15–10:35).

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between the photos); Gibson v. Blackburn, 744 F.2d 403, 405 (5th Cir. 1984) (photo

array in which defendant was wearing clothing similar to the suspect’s clothing

described by witnesses at the time of the crime did not render the array unduly

suggestive where only a “small portion” of the relevant clothing was visible in

defendant’s photo); Futrell v. Roper, No. 4:09CV00028 AGF, 2012 WL 1060117, at *4,

11 (E.D. Mo. Mar. 29, 2012) (trial court reasonably concluded that photo array was

not unduly suggestive even though defendant was the only person in the array who

was wearing a hooded sweatshirt similar to what the perpetrators were seen

wearing at the time of the crime, where defendant’s “clothing was not the sole basis

for   [the   witnesses’]   identifications”);   United   States   v.   Roberson,   No.

07-3116-01-CR-S-GAF, 2008 WL 2323865, at *4 (W.D. Mo. June 2, 2008) (citations

omitted) (“[W]here an identification has been made on the basis of the individual’s

face, even if there is some suggestive clothing, the photo array is not impermissibly

suggestive where the array is a fair representation of individuals similar in

appearance.”); United States v. Boykin, Nos. Civ.A. 99–0433–AH–M, Crim.

97–00018–AH, 2000 WL 206788, at *3 (S.D. Ala. Feb. 11, 2000) (rejecting defendant’s

argument that “his photograph was impermissibly suggestive because in the

photograph he is wearing a jacket that fits the description of a jacket the robber wore

at the time of the offense,” where, “to the extent that [d]efendant’s jacket [was]



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apparent [in the photo], the details [were] not emphasized”); Kearney v. State of

Md., 567 F. Supp. 1248, 1250 (D. Md. 1983) (citation and internal marks omitted)

(photo array not unduly suggestive despite defendant’s allegation that he “was the

only member of the array wearing clothes which matched the description the

robbery victim had given the police on the night of the incident”—and despite

evidence that the “victim had noted the distinctive features of [defendant’s] clothing

when the victim was reviewing the [photo] array”—since there was also evidence

that the victim ultimately selected defendant’s photo “on the basis of [defendant’s]

face”); see also Perkins, 2011 WL 2294163, at *7 (rejecting defendant’s argument that

“photo lineups were overly suggestive because they contained only one picture of

a man with gold teeth and the witnesses acknowledged that the gold teeth was the

prominent feature of the man they identified,” where “the [individuals] depicted in

the photographs had the same gender, appeared to be African-American, appeared

to be roughly the same age, had similar hair length, skin tone, and, for the most part,

similar facial shape and fullness of the face”).

      Courts have also held that in cases where “the defendant is the only person

in the array wearing particular clothing described by the [witness] as having been

worn by the perpetrator, . . . the identification procedure is not suggestive” so long

as “the clothing at issue is not unusual[.]” Maldonado v. Burge, 697 F. Supp. 2d 516,



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543 (S.D.N.Y. 2010) (citations omitted). Indeed, “[b]ecause the average witness

would know people can easily change clothes, it would be unusual for variations in

clothing to be unduly suggestive,” United States v. Raboy, No. CR 09-678-PHX-JAT,

2010 WL 3522269, at *2 (D. Ariz. Sept. 2, 2010), and a “hooded sweatshirt is

[certainly] not such an unusual article of clothing,” Roper, 2012 WL 1060117, at *11

(citation omitted), as to make it “all but inevitable that [S.G. or J.W] would identify

[Brown]” merely because his photo happened to portray him wearing that attire,

Perry v. New Hampshire, 132 S. Ct. 716, 724 (2012) (citation and internal marks

omitted). See also United States v. Perez, Criminal Action No. 1:13–CR–0293–WBH,

2014 WL 1309088, at *6 (N.D. Ga. Mar. 31, 2014), adopted at *1 (citing Cikora, 661 F.

Supp. at 819) (“The crucial test of suggestiveness is not dissimilarity of subjects from

the suspect or from the description of the suspect given to the police, but rather

whether it can be said that the picture selected would inevitably have been selected

whether or not the individual pictured was guilty or innocent.”).

      Furthermore, while Brown contends that only his photo and one other photo

from the July 25 lineup are “close-ups,”8 [Doc. 53 at 5 (internal marks omitted)], “a

review of the [] array shows that each photo depicts the same proportions of each



      8
      In fact, the photo of the other individual is noticeably closer, and his face is
consequently larger, than the photo depicting Brown, which undermines the
argument that the size of Brown’s photo was unduly suggestive. See (Ex. 1).

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person (head and neck) and the photograph of [Brown] does not show any more or

any less of him than is depicted in the other photographs,” Henderson, 2012 WL

1665870, at *4 (second alteration in original). In fact, Brown “‘offer[s] no legal

precedent or common-sense reason to support the proposition that a moderately

zoomed-in photo of a suspect would be suggestive of that suspect’s guilt,” and even

though Brown’s photo is slightly zoomed in, any such difference is “negligible at

best.” Johnson v. Scott, No. 2:13–cv–500–FtM–38CM, 2014 WL 5454321, at *9 (M.D.

Fla. Oct. 27, 2014) (alteration in original). See also United States v. Bautista, 23 F.3d

726, 731 (2d Cir. 1994) (“While it is true that [defendant’s] photograph . . . is slightly

. . . more close-up than the others, . . . these differences did not render the array

suggestive.”); United States v. Swain, No. S4 08 Cr. 1175(JFK), 2011 WL 4348142, at

*6 (S.D.N.Y. Aug. 16, 2011) (citation omitted) (“Although Defendant’s photo is

zoomed in so that his head appears slightly bigger than the other subjects’ heads, the

difference is not so appreciable as to be unduly suggestive.”).

      Brown also attempts to cast doubt on the reliability of S.G.’s selection of his

photograph by arguing that her expression of uncertainty (made during her review

of the third lineup) about one of her earlier selections was “presumably” made in

reference to her selection of Brown’s photo, since “she was the least certain of his




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identity” among all of the photos presented. [Doc. 53 at 7].9 However, this

argument overlooks the fact that, in making each of her selections from the three

lineups, S.G. specifically identified the individuals depicted in the photos based on

their relative positions among the robbers when they entered the store, and that she

identified the photos selected from the first and third lineups as portraying

individuals of differing relative positions. More specifically, in selecting Brown’s

photo from the first lineup, S.G. expressly associated the individual portrayed in the

photo with the “guy in the back” during the robbery, (Ex. 5 at 4:08–05:13); in

selecting the photo from the second lineup, she made no mention of the “guy in the

back,” but associated the photo exclusively with the “first” individual to enter the

store, (id. at 08:34–09:20); and when she reviewed the third lineup, she again made

no reference to the “guy in the back,” but identified the individual portrayed in the

photo as the suspect who “came in front,” (id. at 10:11–10:36)—adding, at that point,

that she was not sure about one of her previous identifications. Thus, because S.G.

identified the individuals from the first lineup and the third lineup as occupying

different positions during the onset of the robbery, there is no apparent conflict



      9
        Brown states that S.G. actually “[r]ecant[ed]” one of her earlier selections
when she identified the individual from the third lineup, [Doc. 53 at 7], but S.G. in
fact did nothing more than indicate some uncertainty, see (Ex. 5 at 10:20–10:23 (“I
might be wrong about that one.”)), and at no point during the lineup did she
actually retract any of her previous identifications.

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between those identifications, and therefore no reason to believe that S.G.’s relative

certitude about her selection of the suspect from the third lineup would somehow

prompt her to express doubt about her selection of a different suspect from the first

lineup. Rather, any uncertainty in S.G’s identification of the robbers appears to

relate to the second and third lineups since she referred to both of those individuals

as the person who entered the store “first” or was “in front” during the CVS

robbery. Since S.G’s expression of doubt about the earlier identification came in the

immediate context of her expression of certainty that her selection from the third

lineup was the first individual to enter the store, it appears that whatever doubt she

may have had about a previous identification was directed at the photo selected

from the second lineup, and not Brown’s photo that she selected from the first

lineup.

      In any event, “[w]hile [S.G.] expressed some uncertainty about her

identification, that uncertainty is not reflective of undue suggestiveness of the

array,”10 and any uncertainty she expressed therefore “goes to the weight to be

      10
         Indeed, it appears that all of the photos used in the lineups, including
Brown’s photo, were simply driver’s license photos that were obtained in neutral
fashion from the department of driver services, (Tr. at 23–24, 27–29), and there is no
indication of any improper action by law enforcement in selecting which photos to
use in the lineups. See United States v. Pierce, No. 3:11cr08-WKW, 2012 WL
1030465, at *2 (M.D. Ala. Mar. 9, 2012), adopted by 2012 WL 1021839, at 81 (M.D.
Ala. Mar. 27, 2012) (photo array not unduly suggestive where array was comprised
of “driver license photographs from the [relevant state database], which included

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accorded to her testimony, but does not render her identification unreliable or

inadmissible.” United States v. Ford, Criminal Action No. 1:12–CR–297–TWT–ECS,

2013 WL 1969876, at *3–4 (N.D. Ga. Apr. 8, 2013), adopted by 2013 WL 1966232, at

*1 (N.D. Ga. May 10, 2013), aff’d, 784 F.3d 1386 (11th Cir. 2015)). Accordingly,

Brown has failed to carry his burden of showing that the photo arrays were

impermissibly suggestive, and it is RECOMMENDED that his motions to suppress,

[Docs. 40 & 43], be DENIED.11


the defendant and five other persons of similar descriptions”); see also Perry, 132 S.
Ct. at 721 (emphasis added) (“When no improper law enforcement activity is involved,
we hold, it suffices to test reliability through the rights and opportunities generally
designed for that purpose, notably, the presence of counsel at postindictment
lineups, vigorous cross-examination, protective rules of evidence, and jury
instructions on both the fallibility of eyewitness identification and the requirement
that guilt be proved beyond a reasonable doubt.”); United States v. Jernigan,
Criminal Action No. 1:14–cr–0024–AT–JFK, 2015 WL 1781747, at *8 (N.D. Ga. Apr.
10, 2015), adopted at *1 (emphasis added) (citation omitted) (“‘The fallibility of
eyewitness evidence does not, without the taint of improper state conduct, warrant a
due process rule requiring a trial court to screen such evidence for reliability before
allowing the jury to assess its creditworthiness.’”).
      11
        Because the photographic arrays are not unconstitutionally suggestive, the
inquiry ends there. Williams v. Weldon, 826 F.2d 1018, 1021 (11th Cir. 1987) (“We
must first decide whether the original identification procedure was unduly
suggestive. If not, that ends the inquiry.”); United States v. Jackson, No. 08-21050-
CR, 2009 WL 605282, at *6 (S.D. Fla. Mar. 9, 2009) (citation omitted) (“Because the
photographic lineups shown to the witnesses were not suggestive, the undersigned
does not need to reach the second inquiry, whether the identification was reliable.”);
see also Perry, 132 S. Ct. at 730 (“[T]he Due Process Clause does not require a
preliminary judicial inquiry into the reliability of an eyewitness identification when
the identification was not procured under unnecessarily suggestive circumstances
arranged by law enforcement.”). Of course, “the ‘recommendation that the

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                               III. CONCLUSION

      For the foregoing reasons, it is RECOMMENDED that Brown’s motions to

suppress evidence and testimony, [Docs. 40 & 43], be DENIED.

      There are no other pending matters before the Magistrate Judge, and the

undersigned is aware of no problems relating to the scheduling of this case.

      IT IS THEREFORE ORDERED and ADJUDGED that this action be and the

same is hereby, certified Ready for Trial as to all defendants.

      IT IS SO ORDERED AND RECOMMENDED, this 5th day of August, 2015.



                                       RUSSELL G. VINEYARD
                                       UNITED STATES MAGISTRATE JUDGE




identification testimony should not be suppressed in no way prohibits [Brown] from
cross-examining the pertinent witnesses at trial as to any inconsistencies or
discrepancies in their testimony or otherwise questioning them with respect to the
procedures used during the identification [] and the reliability of any positive
identifications made.’” Stevenson, 2012 WL 1424169, at *7 (citation omitted).

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